Case 9:17-cv-80495-KAM Document 414 Entered on FLSD Docket 08/02/2019 Page 1 of 6




   John Bm ke and JonnnaBurke
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                           W EST PM M B EA CH D IW SION

                CivilActionNo.9:17-CV-80495(17-80495-CIW M AkRA)


   CON SUW R FW M CX                    M PLICANTS (INTERW NORS)
   PROTECTION BUREAU ,                  N O TICE O F M PEA L
                       Plaintiffs,
         V S.

   OCW EN FW A NCIAL
   C O RPO R A TIO N ,
   a Florida corporation,

   O CW EN M O R TG A G E
   SERW C W G ,m C.,
   aU .S.Virgin Islandscop oration,

   and
   OCW EN LOAN SERW CW G,
   LLC ,
   aD elaware lim ited liability
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                APPLICANTS qNTERVENORS)NOTICE OF APPEAL
Case 9:17-cv-80495-KAM Document 414 Entered on FLSD Docket 08/02/2019 Page 2 of 6
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             N OTICE IS HEREBY GIVEN thatJoarm a Burke and Jolm Burke,Senior

  Citizens in the above-entitled case and hereby appealsto the U nited States Courtof

  AppealsfortheEleventh District9om the Orderdenying Intervention (Doc.411),
  entered in thisaction on 3rdday ofJuly,2019by United StatesJudgeKenneth M anu.




                                                    RE SPEC TFU LLY subm itted this 30thday ofJuly, 2019.




                                                                             JoannaBm'ke/H arrisCounty
                                                                             State ofTexas,Pro Se




                                                                             Jobn     e/HarrisCounty
                                                                             State ofTexas,Pro Se


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Case 9:17-cv-80495-KAM Document 414 Entered on FLSD Docket 08/02/2019 Page 5 of 6




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   O cw en M ortgage Servicing,Inc ,and O caven Loan Servicing,LLC




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